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United States District Court
Southern District of New York                                  1:19-cv-08993

Ryan Cosgrove, individually and on behalf
of all others similarly situated,
                                Plaintiff
                                                                   Complaint
                  - against -

Blue Diamond Growers
                                Defendant

       Plaintiffs by attorneys alleges upon information and belief, except for allegations

pertaining to plaintiffs, which are based on personal knowledge:


       1.      Blue Diamond Growers (“defendant”) manufactures, distributes, markets, labels and

sells almondmilk beverages purporting to be characterized by vanilla under the Almond Breeze

brand (“Products”).

       2.      The Products are available to consumers nationwide from third-party retailers,

including brick and mortar and online stores and directly from defendant’s website.



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           3.     The Product Lines include Regular, Unsweetened, Reduced Sugar, Hint of Honey

and Added Calcium and are sold in eight (8), ten (10), eleven (11), thirty-two (32), sixty-four (64)

and ninety-six (96) ounce cartons and bottles across the Product Lines.

           4.     The Products’ labeling or advertising makes direct representations with respect to

their primary recognizable and characterizing flavor, by word, vignette, e.g., depiction of a fruit,

or other means, through the word “Vanilla” on the top of the principal display panel, parallel with

the base of the product, shown in the examples below. 1

                               Regular                      Unsweetened




I. Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand


           5.     In 1908, E. M. Chace, Assistant Chief of the Foods Division of the U.S. Department



1
    21 C.F.R. § 101.22(i).


                                                   2
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of Agriculture’s Bureau of Chemistry, noted “There is at least three times as much vanilla

consumed [in the United States] as all other flavors together.”2

        6.      By law, vanilla refers to “the total sapid and odorous principles extractable from one-

unit weight of vanilla beans.”3

        7.      The global landscape since The Pure Food and Drugs Act, enacted in 1906 to “protect

consumer health and prevent commercial fraud,” has changed little.4

        8.      Daily headlines alert us to this resurgent international threat of “food fraud” – from

olive oil made from cottonseeds to the horsemeat scandal in the European Union.5

        9.      While “food fraud” has no agreed-upon definition, its typologies encompass an ever-

expanding, often overlapping range of techniques with one common goal: giving consumers less

than what they bargained for.

        10.     Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.6

        11.     Its value as the second most expensive flavoring ingredient after saffron has made it

a constant target of those seeking to dilute, imitate, adulterate and “extend” the flavor of this




2
  E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
3
  21 C.F.R. §169.3(c).
4
  Berenstein, 412.
5
  Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
6
  Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.


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tropical orchid.7

        12.      These general typologies of food fraud are applied to how it is carried out in vanilla.8

                   Type                                                   Example

    ➢ Cheating on analytical tests               •   Manipulation of the carbon isotope ratios to
       by containing markers                         produce synthetic vanillin with similar carbon
       specifically tested for                       isotope composition to natural vanilla

    ➢ Cheating by giving                         •   Ground vanilla beans and/or seeds to provide visual
       consumers the impression                      appeal as “specks” so consumer thinks they are a
       the food or ingredient is                     result of the product containing real vanilla bean,
       present in greater amounts                    when the ground beans have been exhausted of
       and/or higher quality form                    flavor, and any vanilla flavor tasted may not even
       than it contains                              be due to the presence of real vanilla

    ➢ Substitution or Replacement                •   Tonka beans, which are banned from entry to the
       a food product/ingredient                     United States, instead of vanilla beans;
       with an alternate food                    •   Coumarin, phytochemical found in Tonka beans, to
       product/ingredient of lower                   increase the vanilla flavor perception.
       quality

    ➢ Coloring agents to produce a               •   Caramel in vanilla extracts to darken the
       more attractive color                         substance’s color additives like caramel to enhance
                                                     the hue of an imitation vanilla so it more closely
                                                     resembles real vanilla;9
                                                 •   Annatto and turmeric in dairy products purporting
                                                     to be flavored with vanilla, to darken the color to
                                                     better resemble the hue of rich, yellow butter.


7
  “Extend” in the context of flavoring is a modern way to say “dilute” or “adulterate” – to make what is being
“extended” go farther. Since “dilute” and “adulterate” have a deserved negative connotation, the flavor industry and
technical trade literature use the euphemistic term, “extend,” or sometimes “fortify.”
8
  Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.
9
  Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.


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     ➢ Addition of less expensive                •    Synthetically produced ethyl vanillin, derived from
        substitute ingredient to                      wood pulp, tree bark or coal tar.
        mimic flavor of more
        valuable component

     ➢ Ingredient list deception10               •    Subtle,    yet    deliberate     misidentification       and
                                                      obfuscation of a product’s components and
                                                      qualities as they appear on the ingredient list –
                                                      “ground vanilla beans” as containing actual vanilla
                                                      flavor when they are devoid of any naturally
                                                      occurring vanilla flavor.

     ➢ Diluting/Extending                        •    Combination with a variety of flavoring substances
                                                      such as propenyl guaethol (“Vanitrope”), a
                                                      “flavoring agent [, also] unconnected to vanilla
                                                      beans or vanillin, but unmistakably producing the
                                                      sensation of vanilla.”11

                                                 •    “Spiking” or “fortification” of vanilla through
                                                      addition of natural flavors which simulate the taste
                                                      of vanilla, contrary to consumer expectations and
                                                      law.


         13.    The “food fraud” typologies evident in the Products include one or more of the

above-described types.


II. The Representations are Misleading because the Flavor is Not Only Derived from Vanilla

      and/or the Amount of Vanilla is Insufficient to Independently Characterize the Products


         14.    The “vanilla almondmilk” Products are expected to contain the characterizing food


10
   Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar
11
   Berenstein, 423.


                                                         5
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ingredient, vanilla.

           15.    The front labels represent that the vanilla (i) flavor is exclusively derived from the

vanilla plant and (ii) present in an amount sufficient to independently characterize the Products.

           16.    The ingredient lists for the Products vary slightly across the Product Lines since some

Products contain sugar, honey, more calcium, etc.

           17.    These representations are misleading because the ingredient lists reveal the Products

contains “Natural Flavor.”12

                                     Ingredient List – Unsweetened Vanilla




                         Ingredients: Almondmilk (Filtered Water, Almonds),
                         Calcium Carbonate, Natural Flavor, Sea Salt, Potassium
                         Citrate, Sunflower Lecithin, Gellan Gum, Vitamin A
                         Palmitate, Vitamin D2, D-Alpha-Tocopherol (Natural
                         Vitamin E).

           18.    The flavoring ingredients, shown below in the Unsweetened Vanilla Product, are

consistent and identical across the Product Lines and are not impacted by whether the particular

variety contains sugar, honey, added calcium, etc.

           19.    “Natural flavor” refers to “the essential oil, oleoresin, essence or extractive…which

contains the flavoring constituents” from a natural source such as plant material and can refer to

combinations of natural flavors.13

           20.    If the “natural flavor” only consisted of vanilla, this more valuable ingredient would



12
     21 C.F.R. § 169.177 (Vanilla flavoring.).
13
     21 C.F.R. § 101.22(a)(3).


                                                      6
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be listed, i.e., vanilla extract, vanilla flavor or flavoring, instead of the opaque and ubiquitous

“natural flavor.”

         21.    The declaration of “natural flavor” in the Products refers to a combination of flavors,

of which real vanilla is contained in a smaller amount than expected.

         22.    The other components of the natural flavor are from non-vanilla natural sources

         23.    Because the Products contain flavor not derived from the characterizing food

ingredient of vanilla, their unqualified, prominent and conspicuous representation as “Vanilla” is

false, deceptive and misleading.


     A. Vanilla-Flavored Almondmilk is a Non-Misleading Product Name


         24.    If the amount of vanilla is insufficient to independently characterize the Products, a

non-misleading description and name would be “Natural Vanilla Flavored Almondmilk” or

“Vanilla Flavored Almondmilk,” if the “other natural flavors” do not purport to simulate vanilla

or contain vanillin.14


     B. Vanilla Almondmilk with Other Natural Flavor is a Misleading Product Name


         25.    If the amount of vanilla is sufficient to independently characterize the Products, a

non-misleading description and name could be “Vanilla Almondmilk With Other Natural Flavor.”

         26.    The designation “with other natural flavor” is used where flavor components




14
  21 C.F.R. § 101.22(i)(1)(i) (“If the food is one that is commonly expected to contain a characterizing food ingredient,
e.g., strawberries in "strawberry shortcake", and the food contains natural flavor derived from such ingredient and an
amount of characterizing ingredient insufficient to independently characterize the food”).


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“simulate[s], resemble[s] or reinforce[s] the characterizing flavor.”15

         27.    Because consumers associate the unqualified use of the term “vanilla” with the

standardized vanilla ingredients – vanilla extract or vanilla flavor – of high quality and cost, a front

label designation of “Vanilla Almondmilk With Other Natural Flavor” should be accompanied by

the percentages of vanilla flavoring or extract and the non-vanilla flavoring.16

         28.    The purpose of providing additional information on the front label with respect to

the vanilla content of the flavoring ingredient is to limit or prevent any ambiguity as to whether

the product contained a standardized vanilla ingredient.


     C. Vanilla with Other Natural Flavors is Plausibly Vanilla, Vanillin and Other Natural Flavors

         Which are Characterizing for the Products


         29.    Given standard industry practices, the likely ingredient used by defendant for the

Products is one designated as “Vanilla With Other Natural Flavors” or “Vanilla WONF,” which

contains some vanilla flavor and some flavor from non-vanilla albeit natural sources.17

         30.    Where vanilla is combined with vanillin, it is required to be labeled based on its

classification into one of the three standardized combination ingredients: Vanilla-vanillin extract,

Vanilla-vanillin flavoring and Vanilla-vanillin powder.18

         31.    When used with vanilla, vanillin is required to be identified as an artificial flavor,




15
   21 C.F.R. § 101.22(i)(1)(iii) (“If the food contains both a characterizing flavor from the product whose flavor is
simulated and other natural flavor which simulates, resembles or reinforces the characterizing flavor, the food shall
be labeled in accordance with the introductory text and paragraph (i)(1)(i) of this section and the name of the food
shall be immediately followed by the words "with other natural flavor" in letters not less than one-half the height of
the letters used in the name of the characterizing flavor.”)
16
   21 C.F.R. § 102.5.
17
   Declared on the Ingredient List of Certain Products as Natural Vanilla Flavor with Other Natural Flavor; An
ingredient designated “[CHARACTERIZING FLAVOR] + WONF” should contain enough flavor from the food or
flavor which precedes “WONF” to sufficiently independently characterize the food.
18
   21 C.F.R. § 169.180, § 169.181, § 169.182.


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even if the vanillin is made from natural materials and through a natural process.19

        32.    These standards and requirements were established for these ingredients so

companies would not “boost,” “fortify” or “spike” a miniscule amount of real vanilla with the

addition of vanillin that was not derived from vanilla beans.

        33.    Since the vanilla standards take precedence over the general flavoring regulations

where they may be in conflict, the Products’ front label representations and ingredient list

declaration would be misleading if they contained added vanillin as part of the “other natural

flavors.”

        34.    It would be misleading to not provide equal disclosure and prominence to the vanilla

and vanillin which are contained in the Products, since a very small amount of vanillin can have

the flavoring effect of a significant amount of vanilla.

        35.    Where only the vanilla part of the combination ingredient is acknowledged, the

consumer gets the misimpression that what they are tasting and paying more money for is the

flavoring derived from real vanilla beans.

        36.    The addition of “other natural flavors” which contain vanillin – even if from a natural

source and made through a natural process – is contrary to and inconsistent with the vanilla

standards of identity, which specifically provide for the three vanilla-vanillin combinations, which

require declaration that the vanillin is an artificial ingredient and has no connection to the vanillin

from vanilla beans.


III. Conclusion


        37.    The proportion of the characterizing component, vanilla, has a material bearing on


19
  See 21 C.F.R. § 169.180(b), § 169.181(b), § 169.182(b), which uniformly state that the name of the food must be
“followed immediately by the statement ‘contains vanillin, an artificial flavor (or flavoring).’”


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price or consumer acceptance of the Products because it is more expensive and desired by

consumers.

        38.   Had Plaintiff and Class members known the truth about the Products, they would not

have bought the Product or would have paid less for it.

        39.   The Products contain other representations which are misleading and deceptive.

        40.   As a result of the false and misleading labeling, the Products are sold at premium

prices, approximately no less than $5.99, per 64 OZ quart (1.89L) (across the Product Lines),

excluding tax – compared to other similar products represented in a non-misleading way.

                                      Jurisdiction and Venue


        41.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).

        42.   Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

        43.   This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

        44.   Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        45.   A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                   Parties

        46.   Plaintiff is a citizen of Bronx County, New York.

        47.   The allegations as related to laws of other states where no named plaintiff has been

disclosed serves as a placeholder upon joinder or amendment.

        48.   Defendant is a California Cooperative Corporation with a principal place of business



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in Sacramento, California (Sacramento County).

        49.   During the class period, Plaintiff purchased one or more of the Products for personal

use, consumption or application with the representations described herein, for no less than the price

indicated, supra, excluding tax, within their districts and/or states.

        50.   Plaintiff purchased the Products based upon the representations on the packaging.

        51.   Plaintiff would consider purchasing the Products again if there were assurances that

the Products’ representations were no longer misleading.

                                          Class Allegations


        52.   The classes will consist of all consumers in all 50 states with sub-classes for the

individual states and nationwide classes.

        53.   The complaint contains Plaintiff(s) from: New York, who will represent his state

sub-class of persons who purchased any Products containing the actionable representations during

the statutes of limitation.

        54.   Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if Plaintiff and class members are

entitled to damages.

        55.   Plaintiff’s claims and the basis for relief are typical to other members because all

were subjected to the same representations.

        56.   Plaintiff is adequate representatives because their interests do not conflict with other

members.

        57.   No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

        58.   Individual actions would risk inconsistent results, be repetitive and are impractical



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to justify, as the claims are modest.

       59.    Plaintiff’s counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       60.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                           New York General Business Law (“GBL”) §§ 349 & 350
                        and Consumer Protection Statutes of Other States and Territories

       61.    Plaintiff asserts causes of action under the consumer protection statutes of New York

and subsequently identified plaintiffs will assert the all 50 states, with Plaintiff asserting the

consumer protection laws of his or her individual state.

       62.    Plaintiff and class members assert causes of action under the consumer protection

laws of their States.

       63.    Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because (1) it gives the impression to consumers the Products contain more of the characterizing

ingredients than they actually do and (2) the ingredient list fails to dispel ambiguity and reinforces

the front-label impression as to a greater amount of the characterizing ingredients.

       64.    Defendant’s acts, practices, advertising, labeling, packaging, representations and

omissions are not unique to the parties and have a broader impact on the public.

       65.    Plaintiff and class members desired to purchase products which were as described

by defendant and expected by reasonable consumers, given the product type.

       66.    After mailing appropriate notice and demand, Plaintiffs who reside in a State where

notice is required prior to seeking damages under that State’s Consumer Protection Statutes, will

have mailed and/or have amended this complaint to request damages. Cal. Civil Code § 1782(a),

(d); Mass. UDAP, Mass. Gen Laws Ch. 93A, etc.

       67.    The representations and omissions were relied on by Plaintiff and class members,



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who paid more than they would have, causing damages.

                                        Negligent Misrepresentation

       68.    Plaintiff and class members incorporate by reference all preceding paragraphs.

       69.    Defendant     misrepresented     the    misrepresented   the     substantive,   quality,

compositional, organoleptic and/or nutritional attributes of the Products through representing the

characterizing ingredient was present in greater amount than it was.

       70.    Defendant had a duty to disclose and/or provide non-deceptive labeling of the

Products and knew or should have known same were false or misleading.

       71.    This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge in the production, service and/or sale of the product type, given that

defendant is an almond growing cooperative and would presumably not mislead consumers in the

realm of other agricultural products.

       72.    The representations took advantage of cognitive shortcuts made by consumers at the

point-of-sale and their trust placed in defendant, a well-known and widely recognized and

respected brand in this sector for this type of product.

       73.    Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

       74.    Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

              Breaches of Express Warranty Implied Warranty of Merchantability and
                    Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       75.    Plaintiff incorporates by references all preceding paragraphs.

       76.    Defendant manufactures and sells products which contain a characterizing ingredient



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or flavor which is desired by consumers.

        77.   The Products warranted to Plaintiff and class members that they possessed

substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

other attributes which they did not.

        78.   Defendant’s front labels informed Plaintiff the Products contained flavoring

exclusively from vanilla when this was not accurate.

        79.   Defendant had a duty to disclose and/or provide a non-deceptive description of the

Products flavoring and ingredients and knew or should have known same were false or misleading.

        80.   This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

        81.   The Products warranted to Plaintiff and class members that the characterizing

ingredients, emphasized by the Products’ name, description, label and/or website and marketing,

was (1) present in an amount sufficient to characterize the Products and (2) the exclusive source

of flavor in the Products.

        82.   Plaintiff provided or will provide notice to defendant and/or its agents,

representatives or retailers.

        83.   The Products did not conform to their affirmations of fact and promises, wholly due

to defendant’s actions and were not merchantable.

        84.   Plaintiff and class members relied on defendant’s claims, paying more than they

would have.

                                              Fraud


        85.   Plaintiff incorporate by references all preceding paragraphs.

        86.   Defendant’s purpose was to sell a product which contained a valuable and desired



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characterizing ingredient or flavor, and represent the Products were exclusively or predominantly

flavored from that ingredient and contained sufficient independent amounts of same such that they

would accurately be described by the product name ascribed to them.

       87.    The Products were not flavored exclusively from the characterizing ingredient.

       88.    Defendant’s fraudulent intent is evinced by its failure to accurately identify the

Products on their front labels when it was able to disclose this but did not accurately describe the

nature of the Products.

       89.    Defendant’s intent was to secure economic advantage in the marketplace against

competitors by appealing to consumers who value products with this characterizing ingredient for

the above-described reasons.

       90.    Plaintiff and class members observed and relied on defendant’s claims, causing them

to pay more than they would have, entitling them to damages.

                                           Unjust Enrichment

       91.    Plaintiff incorporates by references all preceding paragraphs.

       92.    Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;


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   3. Injunctive relief to remove and/or refrain from the challenged representations, restitution

      and disgorgement for members of the State Subclasses pursuant to the consumer protection

      laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

      to the common law and consumer protection law claims, and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiffs’ attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: September 27, 2019
                                                              Respectfully submitted,

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1:19-cv-08993
United States District Court
Southern District of New York

Ryan Cosgrove individually and on behalf of all others similarly situated


                                        Plaintiff


        - against -


Blue Diamond Growers

                                         Defendant




                                          Complaint


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Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: September 27, 2019
                                                                        /s/ Spencer Sheehan
                                                                         Spencer Sheehan
